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Illinois Department of Financial and Professional Regulation
Office of Legal Affairs

 

JB PRITZKER CLERKS EIVED DEBORAH HAGAN
Governor 4. & DISTRICT COURT Secretary
FEB 18 2029 General Counsel
DISTRICT OF HAWAII

February 13, 2020

The Honorable Leslie Kobayashi
United States District Court

300 Ala Moana Boulevard
Honolulu, Hawaii 96850

RE: United States v. Anthony T. Williams, Cr. No. 17-00101 LEK, United States
District Court, District of Hawaii

Honorable Kobayashi:

The Department of Financial and Professional Regulation, Division of Banking (“Department”),
is providing the enclosed documents in response to the subpoena for the above referenced matter
(copy attached).

The Department found no records pertaining to Anthony Troy Williams (DOB 8/9/17).
Additionally, the Department found no Certificate of Exemptions issued for Mortgage Enterprise

Investments.

If you have any questions, please contact me at (312) 793-3680.

   

Sincerely,. fi
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fo Lorelei Botner Abréms\,
(“Legal Counsel ,

 
  

Enclosures

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